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AUSA: J. Michael Buckley Telephone: (313) 269-4706
AO 442 (Rev. 11/11) Arrest Warrant Special Agent: Christopher Zylik Telephone: (313) 655-2680
UNITED STATES DISTRICT COURT /
for the
Eastern District of Michigan OE; &
us ¢ 14
United States of America ayy oy Upp
Yom Wor
J ss William M Mea guer
ason William Myers
Case No. 1-99.mj-30509

Judge: Morris, Patricia T.
Filed: 11-28-2022 At 04:21 PM
SEALED MATTER (krc)

ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) Jason William Myers
who is accused of an offense or violation based on the following document filed with the court:

[—] Indictment [_] Superseding Indictment [_] Information [_] Superseding Information Complaint
CT] Probation Violation Petition C] Supervised Release Violation Petition C] Violation Notice C] Order of the Court

This offense is briefly described as follows:

Dealing Firearms without a License
18 U.S.C. 922(a)(1)(A)

Date: November 28, 2022 (G24 AA tv ~

fssuing officer's signature

City and state: Bay City, MI Patricia T. Morris, U.S. Magistrate Judge
Printed name and title

 

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Return

 

This warrant was received on (date) i [28] ee , and the person was arrested on (date) _! 2/ z/ Za

at (city and state)

nD
Date: iz/ r/ ze Ay
i / Arresting officer's signature
Mat Sommers - SfuCe xoeKT ATE

Printed name and title

 

 

 

 

 

 

Distribution: Original Court — lcopy U.S. Marshal — 2 copies USA
